




TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-05-00852-CV







NESCOR Energy Company, Ltd. and Mark Schreiber, as Receiver

of the Estate of Neil Salsich, III, Deceased, Appellants



v.



James M. Gibson d/b/a JMG Consultants, Appellee







FROM THE PROBATE COURT NO. 1 OF TRAVIS COUNTY

NO. 68,869-E, HONORABLE GUY S. HERMAN, JUDGE PRESIDING





M E M O R A N D U M &nbsp;&nbsp;O P I N I O N



The parties request by joint motion that we postpone the deadline for the filing of appellants’ brief. &nbsp;They have notified this Court that they have reached a mediated settlement agreement, but that the agreement is pending approval by the probate court. &nbsp;They request that the deadline for appellants’ brief be extended.

We grant the joint motion and reset the deadline for filing appellants’ brief to July 24, 2006. &nbsp;In addition, this appeal is abated until July 24, 2006 or further order of this Court.



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

G. Alan Waldrop, Justice

Before Justices B. A. Smith, Puryear and Waldrop

Filed: &nbsp;&nbsp;July 5, 2006


